                    Case 8:16-cr-00230-DKC            Document 31        Filed 06/20/16      Page 1 of 2


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                                          UNITED STATES         DlsqLRIfCi COURT
                                              DISTRICT OF M,,\~YlJrt\t!PP ll: Oq

     ROGER W. TITUS                                                                           6::;00 CIII.:nl~\"W()On L\:'\E
lI:>lTm   STATES !lISTRICI'   ,Jl'IlGI:                                                      GH.EE:\BEI.T ..\l-\H.YL\:,\'I)  20770
                                                                                                       301-344-0052




                                                     MEMORANDUM


          TO:                 Counsel of Record

          FROM:               Judge Roger W. Titus

          RE:                 Uniled Slales of America 1', 7)'I'ell Bailey and Slel'en Waller Mosby
                              Criminal Case No. RWT 16-0230

          DATE:               June 20. 2016

                                                         ********
                  In accordance with the Speedy Trial Act. this case has been set for a trial having an
          estimated length of six (6) days beginning at 9:00 a.m. on .July J2, 2016,

                   All pretrial motions are to be tiled on or before .Iune 21, 2016, While there may be
          some circumstances under which pretrial motions must. of necessity. be fairly limited as to
          details. the expectation of the Court is that any pertinent details will be included in a reply
          memorandum,         Please remember that it is difficult for the Court to decide motions in a
          conscientious manner if pertinent facts or authorities are disclosed lor the lirst time during the
          hearing on the motion.

                  Not less than fourteen (14) days prior to the date of trial. the parties shall jointly prepare
          and submit to the court proposed voir dire questions. jury instructions and a verdict form and
          submit. separately. any voir dire questions. jury instructions or verdict toI'm upon which they are
          unable to agree. If the parties are in agreement as to any pattem jury instructions included in
          L. Sand. el al .. Modem Federal Jurv Instructions: Criminal Pattem Instructions. (Matthew
          Bender & Co,. Inc.), they need only submit a list of the instruction numbers in the order in which
          they are proposed to be submitted to the jury. If a modified form of a pattern jury instruction is
          proposed. it should be submitted in red-line format to highlight the changes,
       Case 8:16-cr-00230-DKC          Document 31         Filed 06/20/16     Page 2 of 2




        On June 21, 2016 at 5:00 p.m., a status conference will be held before the undersigned.
The status conference will be conducted by a telephone conference call initiated by counsel for
the government.     At the status conference, the parties should be prepared to discuss the
following:

       I.     The status of any pending motions and whether there is any need for the filing of
              additional motions.

       2.     Whether a hearing is necessary in connection with any pending motions. or
              motions to be filed at a later date and, if so. the date fi.lrthe hearing.

       3.     A report from counsel on the status of any negotiations between the parties that
              might lead to a plea agreement and, if so, removal of the case from the trial
              calendar and scheduling of a date for the entry of a guilty plea.

       4.     An updated estimate from both parties as to the length of the trial.

       5.     Whether there needs to be any change in the date of the trial and. if so. the
              establishment of a new trial date.

       6.     Any other matters relating to the scheduling of the trial.

       Despite the informal nature of this memorandum, it shall constitute an Order of Court and
be docketed accordingly.




                                           ~
                                               United States District Judge
